Case 2:04-cr-20513-.]PI\/| Document 43 Filed 06/24/05 Page 1 of 3 Page|D 36

IN THE UNITED STATES DISTRIC'I` COURT
FOR THE WESTERN DISTRIC'I` OF TENNESSEE
WESTERN DIVISION

 

 

 

 

 

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UNITED STATES OF AMERICA )
)
Plaintiff, )

) _

v. ) Criminal No.QQZ_- Zzzj§ Ml
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Z&hub/ ~$ ) (90-Day Continuance)

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the July,
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, September 23, 2005, with trial to take place
on the Octoher, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through October 14, 2005. Agreed in

open court at report date this 24th day of June, 2005.

Th`is doctrine

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with Ru\e 55 and/cr 32{'0) FRCrF' on

v v

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Case 2:04-cr-20513-.]PI\/| Document 43 Filed 06/24/05 Page 2 of 3 Page|D 37

80 ORDERED this 24ch day of June, 2005.

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JON PHIPPS MCCALLA

//W, TED sTATEs DISTRICT JUDGE

WM“W’ /J/ @//4,¢/0`/

Assistant United States Attorney

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Counsel for Defendant(s)

   

UNITED sTATE DISTRIC COURT - W'"ERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CR-205]3 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

